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CLARE E. CONNORS #7936
United States Attorney             SEALED                                 FILED IN THE
                                                                 UNITED STATES DISTRICT COURT
                                                                      DISTRICT OF HAWAII

                                                                       Jul 18, 2022
District of Hawaii                 BY ORDER OF THE COURT         Pam Hartman Beyer, Clerk of Court




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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,             ) MAG. NO. 22-1229 RT
                                      )
           Plaintiff,                 ) CRIMINAL COMPLAINT;
                                      ) AFFIDAVIT
     v.                               )
                                      )
SAMUELA TUIKOLONGAHAU,                )
JR.                                   )
   aka “Samuela Latu Jr.              )
        Tuikologahau,”                )
   aka “Samu,”                        )
                                      )
           Defendant.                 )


                           CRIMINAL COMPLAINT
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      I, the undersigned complainant, being duly sworn, state the following is true

and correct to the best of my knowledge and belief:

                                      Count 1
                                    Bank Fraud
                                 (18 U.S.C. § 1344)

      1.     On or about August 11, 2020, within the District of Hawaii,

SAMUELA TUIKOLONGAHAU, JR., did knowingly execute, and attempt to

execute, a scheme and artifice to obtain monies, funds, credits, assets, securities,

and other property owned by and under the control and custody of Credit Union 1,

a financial institution whose deposits are insured by the National Credit Union

Administration, by means of materially false and fraudulent pretenses,

representations, and promises, which scheme and artifice, and the execution

thereof, was in substance as follows:

      2.     It was part of the scheme and artifice that TUIKOLONGAHAU

obtained a counterfeit cashier’s check and uttered the check at Auto X-Change,

Inc. The check purported to be a Credit Union 1 cashier’s check, contained an

invalid check number, and was made payable to Auto X-Change Motorcars, Corp.

The check TUIKOLONGAHAU presented at Auto X-Change, Inc. purported to be

a legitimate cashier’s check drawn on Credit Union 1’s account, when, in fact, as

TUIKOLONGAHAU knew, the check was counterfeit.

      3.     On or about August 11, 2020, in the District of Hawaii,

TUIKOLONGAHAU did knowingly execute, and attempt to execute, the aforesaid
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scheme and artifice to defraud Credit Union 1 by presenting the cashier’s check

(#0005989199), in the amount of $36,000 at Auto X-Change, Inc. as payment for a

vehicle.

      All in violation of Title 18, United States Code, Sections 1344(2).

                                      Count 2
                              Aggravated Identity Theft
                               (18 U.S.C. § 1028(A))

      On or about August 11, 2020, in the District of Hawaii during and in relation

to the felony offense of bank fraud as charged in Count 1, a violation under Title

18, United States Code, Section 1344, SAMUELA TUIKOLONGAHAU, JR., the

defendant, did knowingly transfer, possess, and use, without lawful authority, a

means of identification of another person, namely, the name, address, and driver’s

license number of R.S., knowing that the means of identification belonged to

another actual person.

      All in violation of Title 18, United States Code, Section 1028A.

                                     Counts 3-5
                                    Bank Fraud
                                 (18 U.S.C. § 1344)

      1.     On or about December 11, 2020, within the District of Hawaii,

SAMUELA TUIKOLONGAHAU, JR., did knowingly execute, and attempt to

execute, a scheme and artifice to obtain monies, funds, credits, assets, securities,

and other property owned by and under the control and custody of Bank 1, a

financial institution whose deposits are insured by the Federal Deposit Insurance
                                           3
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Corporation (“FDIC”), by means of materially false and fraudulent pretenses,

representations, and promises, which scheme and artifice, and the execution

thereof, was in substance as follows:

        2.    It was part of the scheme and artifice that TUIKOLONGAHAU

obtained counterfeit cashier’s checks and uttered the checks at the cashier’s office

of the State of Hawaii First Circuit Court. The checks purported to be Bank 1

cashier’s checks, contained an incorrect account number, and were made payable

to the First Circuit Court. The checks TUIKOLONGAHAU presented at the First

Circuit Court purported to be legitimate cashier’s checks drawn on Bank 1’s

account, when, in fact, as TUIKOLONGAHAU knew, the checks were counterfeit.

        3.    On or about the dates set forth below, in the District of Hawaii and

elsewhere, SAMUELA TUIKOLONGAHAU, JR., did knowingly execute, and

attempt to execute, the aforesaid scheme and artifice to defraud Bank 1 by

conducting the following transactions with each such transaction constituting a

separate count of this complaint:

COUNT DATE                NATURE OF TRANSACTION                 FINANCIAL
                                                                INSTIUTION
3            12/11/20     Uttered forged check in the           Bank 1
                          amount of $760,000
4            12/11/20     Uttered forged check in the           Bank 1
                          amount of $40,000
5            12/11/20     Uttered forged check in the           Bank 1
                          amount of $50,000

        All in violation of Title 18, United States Code, Section 1344.

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                                      Counts 6-8
                                      Bank Fraud
                                    (18 U.S.C. § 1344)

      1.     On or about December 10, 2020, and continuing through on or about

December 15, 2020, in the District of Hawaii and elsewhere, SAMUELA

TUIKOLONGAHAU, JR., did knowingly execute, and attempt to execute, a

scheme and artifice to obtain monies, funds, credits, assets, securities, and other

property owned by and under the control and custody of Bank 1, Bank 2, and Bank

3 (together, the “Financial Institutions”), all banks with deposits insured by the

Federal Deposit Insurance Corporation (“FDIC”), by means of materially false and

fraudulent pretenses, representations, and promises, which scheme and artifice, and

the execution thereof, was in substance as follows:

      2.     SAMUELA TUIKOLONGAHAU, JR. knowingly used, without

lawful authority, means of identification of another person to open, or cause to be

opened, an account over the internet at Charles Schwab. TUIKOLONGAHAU

would then deposit counterfeit and altered checks into that account, knowing he

was not entitled to the money. TUIKOLONGAHAU would also make, and

attempted to make, wire transfers into that account from another account, knowing

he was not entitled to the money.

      3.     On or about the dates set forth below, in the District of Hawaii and

elsewhere, SAMUELA TUIKOLONGAHAU, JR., did knowingly execute, and

attempt to execute, the aforesaid scheme and artifice to defraud the Financial
                                          5
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Institutions by conducting the following transactions with each such transaction

constituting a separate count of this complaint:

COUNT DATE                 NATURE OF TRANSACTION                FINANCIAL
                                                                INSTIUTION
6           12/14/20   Deposited an altered or forged           Bank 2
                       check in the amount of $308.90
7           12/14/20   Deposited an altered or forged           Bank 3
                       check in the amount of $2,500
8           12/14/20 & Wired or attempted to wire               Bank 1
            12/15/20   $100,000

        All in violation of Title 18, United States Code, Sections 1344(2).

                                    Count 9-11
                              Aggravated Identity Theft
                               (18 U.S.C. § 1028(A))

        On or about the dates set forth below with respect to each count, in the

District of Hawaii and elsewhere, during and in relation to the felony offense of

bank fraud as charged in Counts 6, 7, 8, a violation under Title 18, United States

Code, Section 1344, SAMUELA TUIKOLONGAHAU, JR., the defendant, did

knowingly transfer, possess, and use, without lawful authority, a means of

identification of another person, knowing that the means of identification belonged

to another actual person, namely:

COUNT DATE                 NATURE OF ACT MEANS OF                         RELATED
                                         IDENTIFICATION                   BANK
                                         USED                             FRAUD
                                                                          OFFENSE
9           12/14/20       Deposited an altered Name, date of birth,      Count 6
                           or forged check      and signature of N.G.
10          12/14/20       Deposited an altered Name, date of birth,  Count 7

                                           6
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                           or forged check        and signature ofN.G.
11           12/14/20 &    Wired or attempted     Name, date of birth, Count 8
             12/15/20      to wire money          and social security
                                                  number ofN.G.

        All in violation of Title 18, United States Code, Section I 028A.

        I further state that I am a Special Agent of the United States Secret Service,

and that this Complaint is based upon the facts set forth in the following affidavit,

which is attached hereto and made part of this Complaint by reference.

        DATED: July 18, 2022, Honolulu Hawaii.


                                            ---Jacob Obermiller
                                            Special Agent
                                            United States Secret Service


Sworn to under oath before me telephonically and attestation acknowledged
pursuant to FRCP 4(d) and 4. l(b) on Julyl8, 2022, at Honolulu Hawaii.




                               Andrade
                              Rom A. Trader
                              United States Magistrate Judge




United States v. Samuela Tuikolongahau, Jr.
Criminal Complaint
Mag. No. 22-1229 RT

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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, JACOB OBERMILLER, after being duly sworn, deposes and states as

follows:

      1.     I am employed as a Special Agent (“SA”) with the Department of

Homeland Security, USSS assigned to the Honolulu Field Office, Hawaii Pacific -

Cyber Fraud Task Force. I have been employed by the USSS since September

2017. In this capacity, I am responsible for investigating violations of federal

criminal law, particularly those laws found in Title 18 of the United States Code

and relating to financial institution fraud, computer fraud, credit card fraud,

identity theft, and counterfeit currency. I have received formal training at the

Federal Law Enforcement Training Center and the USSS James J. Rowley

Training Center. My training includes, but is not limited to, various investigative

techniques and tactics regarding financial & computer crimes, including credit card

fraud, identity theft, illegal methods used to obtain credit cards, bank loans, and

other lines of credit, and methods used to launder and conceal the proceeds.

      2.     The information contained in this affidavit is based on my personal

knowledge, my training and experience, information obtained from other law

enforcement personnel, victims and witnesses. This affidavit is intended merely to

show that there is probable cause for the requested arrest warrant and does not set

forth all of my knowledge about this matter.
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      3.     Based on the facts as set forth in this affidavit, and my training and

experience, there is probable cause to believe that SAMUEL

TUIKOLONGAHAU, JR. (“TUIKOLONGAHAU”), aka “Samuela Latu Jr

Tuikologahau,” aka “Samu,” the defendant, committed violations of Title 18,

United States Code, Sections 1028A and 1344.

                               PROBABLE CAUSE

The Auto X-Change, Inc. Incident Using R.S.’s Means of Identification
(Counts 1-2)

      4.     On August 11, 2020, a male identifying himself via Hawaii Driver’s

License as R.S., purchased a Land Rover from Auto X-Change located at 1621

Kalakaua Ave, in the District of Hawaii. The male, who was later identified as

TUIKOLONGAHAU, paid for the vehicle with a check that purported to be a

Credit Union 1 cashier’s check (#0005989199) in the amount of $36,000.00.

TUIKOLONGAHAU presented a counterfeit State of Hawaii Driver’s License

with the name, address, and driver’s license number of R.S. The driver’s license

had TUIKOLONGAHAU’s picture. TUIKOLONGAHAU left with the Land

Rover after completing the purchase.

      5.     On August 12, 2020, Auto X-Change Sales Manager S.C. contacted

Credit Union 1 to verify the check but was told it was not legitimate. HPD Officer

Kenneth Armour contacted Credit Union 1 Service Supervisor M.K., who

inspected the cashier’s check. M.K. stated it was not legitimate due to an invalid


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check number and incorrect coloring and font.

      6.      S.C. reported to investigators that the male depicted on the Hawaii

Driver’s License is the same male that purchased the Land Rover. An investigator

viewed a copy of that Hawaii Driver’s License and recognized the male in the

photograph as TUIKOLONGAHAU.

      7.      Investigators contacted R.S., who confirmed that he did not purchase

a vehicle from Auto X-Change. R.S. also confirmed that he did not give

authorization to TUIKOLONGAHAU for TUIKOLONGAHAU to use R.S’s

means of identification, including his name, address, and driver’s license number.

      8.      At all times relevant to this Complaint, Credit Union 1 was a financial

institution as defined by 18 U.S.C. § 20 and insured by the National Credit Union

Administration.

The State of Hawaii First Circuit Court Incident (Counts 3-5)

      9.      On December 11, 2020, TUIKOLONGAHAU entered the State of

Hawaii First Circuit Court located at 777 Punchbowl St., Honolulu, HI 96813 and

provided the cashier’s office with what purported to be three Bank 1 cashier’s

checks:

           a. Check #1000075484 was in the amount of $760,000, paid to the order

              of the First Circuit Court.

           b. Check #1000075485 was in the amount of $40,000, paid to the order



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               of the First Circuit Court.

            c. Check #1000075486 was in the amount of $50,000, paid to the order

               of the First Circuit Court.

      10.      TUIKOLONGAHAU informed the cashier he was using the funds to

post bail for the following persons: Gary Dean McCormick Fesagaiga

(“McCormick Fesagaiga”), Jennifer Lees (“Lees”) and Matthew Chung (“Chung”).

At the time of this incident, all three parties were being held in Oahu Community

Correctional Center (“OCCC”). TUIKOLONGAHAU completed and signed all

necessary paperwork to post bail for their release.

      11.      TUIKOLONGAHAU self-identified himself to the cashiers’ office via

a photograph of his State of Hawaii ID card that was on his cell phone, which

listed his name as “Samuela Latu, Jr Tuikolongahau” and the address of “94-125

Pahu St., Apt 33, Waipahu, HI 96797.” TUIKOLONGAHAU signed bail receipts

for the three individuals printing the name “Samuela Latu Jr, Tuikolongahau,” the

address of “94-125 Pahu St 33 Waipahu, HI 96797,” the telephone number of 808-

285-1376, and his State of Hawaii ID number. The address and phone number

provided by TUIKOLONGAHAU were the same address and phone number that

were used to open up the Charles Schwab account discussed infra.

      12.      At this time, the cashier’s office was unable to verify the checks as

legitimate and informed TUIKOLONGAHAU that he would not be able to post



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bail for release for McCormick Fesagaiga, Lees and Chung. TUIKOLONGAHAU

collected the Bank 1 cashier’s checks and left the area.

      13.    Investigators recovered the video footage of TUIKOLONGAHAU

interacting with the cashier’s office during this incident.

      14.    On December 14, 2020, State of Hawaii Financial Services Director

T.G. corresponded, via email, with Bank 1 Vice President Investigator A.S., who

confirmed all three Bank 1 cashier’s checks were counterfeit.

      15.    On May 18, 2021, this affiant corresponded with A.S., who stated in

substance and in part that the reason for the checks being counterfeit was due to no

remitter being listed and the account number on the checks were incorrect. A.S.

added that Bank 1 uses two unique accounts for cashier’s checks and not a

personal and/or business account belonging to a customer. The account listed on

the 3 cashier’s checks (XXXXXX4995) belongs to Anika Therapeutics INC., the

same company and account number in the Charles Schwab incident discussed

below.

The Charles Schwab Incident Using N.G.’s Means of Identification
(Counts 6-11)

      16.    On or about December 10, 2020, a Charles Schwab account (#5917-

4502) was applied for online, and then opened on or about December 11, 2020,

using the following information:




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           Name: N.G.
           Address: 94-125 Pahu St., Apt 33, Waipahu, HI 96797
           DOB: XX-XX-1987
           SSN: XXX-XX-1376
           Phone: 808-285-1376
           Email: grosso96825@gmail.com

        a. The address listed above is associated with TUIKOLONGAHAU,

           who has used that address for his Hawaii Driver’s License.

        b. The date of birth listed above is the actual date of birth of N.G.

        c. The social security number listed above contained the first five digits

           of N.G.’s actual social security number, but the last four digits were

           incorrect.

        d. The phone number (808) 285-1376 was listed to N.G. under Verizon

           account 773699022-1 and contained the address referenced above.

           N.G. would later state that he did not create this account.

           TUIKOLONGAHAU has used and listed this phone number in other

           incidents, including the First Circuit Court incident previously

           described.

        e. The email address grosso96825@gmail.com was created on October

           2, 2020 and listed to N.G. N.G. would later state he did not create this

           email address.

        f. This affiant believes that TUIKOLONGAHAU opened, or caused to

           be opened, this account based on the information set forth in this


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               affidavit.

      17.      On or about December 14, 2020, Charles Schwab account # 5917-

4502 received the following two check deposits:

            a. A Bank 2 check (#356517) issued by Ivy K Realty, LLC, with N.G. as

               the purported payee, for $308.90. This check was endorsed with

               N.G.’s purported signature on the back of the check. This check was

               later determined to be counterfeit by K.Y. of Ivy K Realty, LLC.

               K.Y. stated that the payee had been altered to reflect N.G.’s name

               instead of the actual payee for this check, Takase Doors & Service

               LLC.

            b. A Bank 3 check (#205631) issued by Honolulu Star-Advertiser, with

               N.G. as the purported payee, for $2,500.00. This check was endorsed

               with N.G.’s purported signature on the back of the check. This check

               was later determined to be counterfeit by R.C.S. of Honolulu Star-

               Advertiser. R.C.S. stated that the payee had been altered to reflect

               N.G.’s name instead of the actual payee for this check, 3piko LLC.

            c. This affiant believes that these deposits were made or caused to be

               made by TUIKOLONGAHAU based on the information set forth in

               this affidavit.

      18.      On or about December 14 and 15, 2020, TUIKOLONGAHAU made



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or attempted to make a wire transfer of $100,000 from Bank 1 account

XXXXXX4995, belonging to Anika Therapeutics INC., to the Charles Schwab

account #5917-4502. A printout of the transaction detail for Schwab account

#5917-4502 showed that $100,000 was transferred into and then out of account

#5917-4502. The wire transfer appeared unsuccessful.

      19.      Charles Schwab provided five separate incoming customer service

telephone conversations that occurred on December 14 and 15, 2020 relating to

account #5917-4502.

            a. The first four calls are from a male attempting to conduct business

               with Charles Schwab, impersonating N.G. The male party calls from

               (808) 285-1376, the same number that TUIKOLONGAHAU provided

               on other occasions, including in the First Circuit incident previously

               described. The male party has similar voice and speech patterns to

               known TUIKOLONGAHAU audio recordings.

            b. In the first call, on or about December 14, 2020, the male party states,

               in substance and in part, that he wants to inquire about a “transfer that

               I just made.” The male explained that it was an “external transfer

               from a [Bank 1] account,” and indicated that he had transferred over

               “a hundred thousand” into his Charles Schwab account. To verify this

               account, the male provided the email address



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               grosso96825@gmail.com and referenced “Anika Therapeutics” when

               asked for an employer name. When asked what the approximate

               account balance was prior to the transfer being initiated, the male

               responded, “two thousand eight hundred something.” The customer

               service representative informed the male that the transfer was pending

               because there was a home or legal address discrepancy, and the social

               security number could not be verified. The customer service

               representative explained that he would bring on their security team to

               clarify those items. At the end of the call, the male explained that he

               was looking to open the account he had referenced earlier in the call

               in the event that he needed to “bail or bond someone out.” In a

               subsequent call with a different customer service representative, the

               male party provided the actual social security number of N.G.

            c. On or about December 15, 2020, N.G. calls from his legitimate phone

               number. During this call, N.G. reports to the Charles Schwab

               customer service representative that he had received an email from

               Charles Schwab notifying him that changes were made to his Charles

               Schwab account that he did not do.

      20.      N.G. was contacted by investigators and stated that he never opened

account #5917-4502 at Charles Schwab, nor did he give anyone permission to open



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the account on his behalf. N.G. also stated that he did not authorize N.G. stated

that the information used to open the account was unknown to him, except for his

full name and date of birth. The social security number had the first five digits

correct, but the last four digits were incorrect. N.G. also stated he also did not

open the Gmail account or the Verizon Wireless account that were under his name.

      21.    During the First Circuit Court incident, TUIKOLONGAHAU

established control over Verizon Wireless number (808) 285-1376 by self-

reporting the number as point-of-connect telephone number on the bail receipts for

the parties. TUIKOLONGAHAU would proceed to use (808) 285-1376 in the

Charles Schwab incident using N.G.’s means of identification, in which four

separate customer service call recordings were identified. Toll records from (808)

285-1376 were reviewed and show successful call connections to Charles Schwab

customer service, (808) 435-4000, on December 14 and 15, 2020.

      22.    On July 11, 2022, Anika Therapeutics, INC. was contacted by this

affiant. On July 12, 2022 Anika Therapeutics, INC. responded that

TUIKOLONGAHAU was never employed by Anika Therapeutics, INC. or

otherwise authorized to take any action on its behalf.

      23.    At all times relevant to this Complaint, Bank 1, Bank 2, and Bank 3

were financial institutions as defined by 18 U.S.C. § 20 and insured by the Federal

Deposit Insurance Corporation.



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                                 CONCLUSION

      24.   Based on the foregoing facts, I respectfully submit that probable cause

exists to believe that SAMUELA TUIKOLONGAHAU, JR., the defendant,

committed the aforementioned offenses.

                                          Respectfully submitted,


                                              -~ -----·-z___----------
                                          Jacob Obermiller
                                          Special Agent
                                          United States Secret Service


This Criminal Complaint and Affidavit in support thereof were
presented to, approved by, and probable to believe that the defendant
above-named committed the charged crime found to exist by the
undersigned Judicial Officer at 4:32 p.m. on July 18, 2022.

Sworn to under oath before me telephonically and attestation acknowledged
pursuant to FRCP 4.1 (b)(2) this 18th day of July, 2022, at Honolulu, Hawaii .




                            Andrade
                           Rom A. Trader
                           United States Magistrate Judge




United States v. Samuela Tuikolongahau, Jr.
Criminal Complaint
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